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EF shal Til 5 = Complaint AUSA Ashley A. Chung (312) 697-4089

 

UNITED STATES DISTRICT COURT
NOV 22 2018 Ys NORTHERN DISTRICT OF ILLINOIS
THOMAS G. BRUTON EASTERN DIVISION

CLERK, U.S. DISTRICT COURT
UNITED STATES OF AMERICA

CASE NUMBER:

ne 19CR 888

MAURICE MURPHY
CRIMINAL CompLainr MAGISTRATE JUDGE COLE

I, the complainant in this case, state that the following is true to the best of my knowledge
and belief.
On or about November 19, 2019, at Des Plaines, in the Northern District of Illinois, Eastern

Division, the defendant violated:

Code Section Offense Description
Title 18, United States Code, by force and violence, and by intimidation, took
Sections 2113(a) and 2 from the person and presence of a bank employee

approximately $15,536 in United States currency
belonging to, and in the care, custody, control,
management, and possession of a bank, namely,
the Bank of America located at 1300 East Oakton
Street, Des Plaines, Illinois, the deposits of which
were then insured by the Federal Deposit
Insurance Corporation

This criminal complaint is based upon these facts:

X_ Continued on the attached sheet. LZELE: .
HERBERT A HOGKERS ILL
Special Agen ~
Federal Bureau of Investigation
Sworn to before me and signed in my presence. \\ i;
Date: November 21, 2019 \ / f ot.
Ji eel @

City and state: Chicago, Illinois JEFFREY COL 5. Magistrate Judge
Printed name and title
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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
AFFIDAVIT

I, HERBERT E. HOGBERG III, being duly sworn, state as follows:

1. Iam a Special Agent with the Federal Bureau of Investigation (“FBI”),
and have been so employed since July 2002. My current responsibilities include the
investigation of violent crimes, including, among others, kidnaping, bank robbery,
and the apprehension of violent fugitives.

2. This affidavit is submitted in support of a criminal complaint alleging
that MAURICE MURPHY has violated Title 18, United States Code, Section 2113(a).
Because this affidavit is being submitted for the limited purpose of establishing
probable cause in support of a criminal complaint charging MURPHY with bank
robbery, I have not included each and every fact known to me concerning this
investigation. I have set forth only the facts that I believe are necessary to establish
probable cause to believe that the defendant committed the offense alleged in the
complaint.

B. This affidavit is based on my personal knowledge, information provided
to me by other law enforcement agents, information that appears in law enforcement
records, interviews of witnesses, my review of surveillance video and images, my
training and experience, and the training and experience of other law enforcement

agents.
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IL, FACTS SUPPORTING PROBABLE CAUSE

4. In summary, and as described further below, based on surveillance video
and images, witness interviews, and law enforcement’s investigation, there is
probable cause to believe that on November 19, 2019, MAURICE MURPHY aided and
abetted the robbery of the Bank of America located at 1300 East Oakton Street, Des
Plaines, Illinois, by acting as a getaway driver.

November 19, 2019 Robbery of Bank of America

5. According to information provided by bank employees and other
witnesses, and surveillance video provided by Bank of America, which I have
reviewed, on November 19, 2019, at approximately 4:31 p.m., a male individual
(“Robber 1”) robbed the Bank of America located at 1300 East Oakton Street, Des
Plaines, Illinois.

6. More specifically, according to a Bank of America teller who was
working at the bank on November 19, 2019 (“Teller A”), Teller A observed a male
individual (Robber 1) entering the bank through the north side doors. Teller A went
to greet Robber 1, but then observed that Robber 1’s face was completely covered in
black material and that Robber 1 was carrying a gun pointed at Teller A. Teller A
became fearful for his/her safety and for the safety of others at the bank. Upon
reaching Teller A, Robber 1 said something to the effect of, “Shut up, go back here,
give me the money,” while gesturing for Teller A to take Robber 1 behind the teller

stations. Teller A twice entered an access code to open the two doors leading behind
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the teller stations. During this time, Robber 1 was behind Teller A with the gun
pressed into Teller A’s back.

Ts Also according to Teller A, once Teller A and Robber 1 were behind the
teller stations, Robber 1 gestured toward a teller station, said something to the effect
of, “Go over there, unlock it, give me the money,” and handed Teller A a white plastic
bag from Robber 1’s pocket. Teller A and another Bank of America teller (“Teller B”)
began removing cash from the top drawer and placing it inside the bag, and Robber
1 indicated that he also wanted cash from the second drawer. While Teller A and
Teller B removed cash from the second drawer, Teller A placed a GPS tracking device
inside the bag. Robber 1 then grabbed the bag from Teller A, said something to the
effect of, “Thanks,” and exited the bank through the north side doors.

8. Also according to Teller A, another Bank of America employee
(“Employee A”) then went to lock the north side doors. Teller A heard Employee A say
that Robber 1 was getting into a black vehicle with a temporary Illinois license plate,!
that the vehicle was heading west through the parking lot, and that it then was going

north on Lee Street.”

 

1 Based on my training and experience, I know that Illinois Temporary Registration Permits
are issued to new purchasers of vehicles who have filed vehicle registration applications but
have not yet received new license plates. I also know that Temporary Registration Permits
typically resemble cardboard license plates with a yellow background.

2 Based on law enforcement review of a map of the area of the bank, I understand that Lee
Street and Mannheim Road are the same street, and that near the bank, Lee Street changes
its name to Mannheim Road. Based on law enforcement training and experience, law
enforcement understood Teller A’s description of Employee A’s observations to be referencing
Mannheim Road.
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9. Teller A described Robber 1 as a six-feet tall male of medium build
wearing a black “hoodie”-style shirt with the hood up, a black face covering, “kitchen”-
style rubber gloves, jeans, and boots. Teller A described Robber 1’s gun as a small
black handgun.

10. According to Employee A, Employee A was seated near the center of the
bank facing the teller line and speaking with a customer when he/she noticed
Robber 1 walk through the north doors of the bank. Robber 1 approached Teller A,
pointed the gun at Teller A’s back, and used the gun to push Teller A as they walked
toward the doors leading behind the teller stations. Employee A heard the beeping of
the access code being entered into each door’s lock and the buzzing of each door
unlocking. Employee A saw Robber 1 walk Teller A to Teller B’s station and heard
Robber 1 tell Teller A and Teller B to give Robber 1 all the money from the top and
bottom drawers. Robber 1 then twice said something to the effect of, “Everybody look
down, don’t move.” According to Employee A, Robber 1 spoke loudly in a mean,
assertive tone, and Employee A felt scared and became concerned that Robber 1
might begin shooting in order to make people comply with his demands. Employee A
noticed the customer with whom Employee A had been speaking turn to look toward
Robber 1, and Employee A told the customer in Spanish not to look at Robber 1.
Robber 1 then exited from behind the teller stations, left the bank through the north
side doors while cradling the bag of money, and headed toward the parking lot of a

restaurant located directly north of and adjacent to the bank (“Restaurant A”).
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11. Also according to Employee A, Employee A then went to lock the north
side doors of the bank and observed Robber 1 entering the rear driver’s side door of a
vehicle. Employee A described the vehicle as a dark blue Kia Optima with tinted
windows and a yellow Illinois temporary license tag. The vehicle then exited
Restaurant A’s parking lot and headed northbound on Lee Street.3

12. Employee A described Robber 1 as being slim built and between
approximately six feet and six feet and two inches in height, and appearing taller ~
than Teller A (who is approximately five feet nine inches tall). Employee A further
described Robber 1 as sounding African American, and wearing a black ski mask with
no holes, a baseball-style hat, a white sweater, and dark blue jeans, and carrying a
white grocery bag in his left hand and a black gun in his right hand.

13. According to a witness in the parking lot of Restaurant A at the time of
the robbery (“Witness A”), Witness A saw a male individual running awkwardly out
of the Bank of America toward a vehicle parked on the south side of Restaurant A’s
parking lot, the side closest to the bank. Witness A described the male individual as
wearing a black face mask and gloves and being hunched over clutching something
against his chest while sprinting. Witness A looked toward the bank and observed

numerous people inside the bank window pointing toward the male individual.

 

3 Based on law enforcement training and experience, and law enforcement’s review of a map
of the area of the bank, law enforcement understood Employee A to be referencing Mannheim
Road, which turns into Lee Street.
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Witness A then observed the male individual enter a vehicle in Restaurant A’s
parking lot that pulled out of its parking spot and exited onto Lee Street.4

14. Witness A described the vehicle as a newer model, dark blue Kia Optima
with tinted windows and an Illinois temporary license plate starting with the
numbers “93.” According to Witness A, Witness A previously owned a Kia Optima,
and so he/she is certain of the make of the vehicle.

15. According to my review of the bank’s surveillance video, Robber 1
appears to be a male individual, approximately six feet tall and weighing
approximately 180 to 200 pounds, wearing a black long-sleeved hooded shirt with the
hood up, a white short-sleeved t-shirt over the long-sleeve hooded shirt, a dark-billed
baseball cap, black pants, black shoes, yellow gloves, and a black covering over his
face.

16. <A post-robbery audit conducted by Bank of America showed that
approximately $15,536 was taken during the robbery.

17. According to records maintained by the Federal Deposit Insurance
Corporation (FDIC) and information provided by bank employees, at the time of the

robbery, the bank’s deposits were insured by the FDIC.

 

Bank Exterior Surveillance Video
18. According to my review of the bank’s exterior surveillance video, at

approximately 4:28 p.m., three minutes before the robbery, a dark blue four-door

 

4 Based on law enforcement training and experience, and law enforcement’s review of a map
of the area of the bank, law enforcement understood Witness A to be referencing Mannheim
Road, which turns into Lee Street.
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sedan backed into a diagonal parking spot on the side of Restaurant A’s parking lot
closest to the bank, and then pulled forward to reposition. The vehicle’s brake lights
then turned off. Because the vehicle backed into a diagonal spot, it was angled against
the normal flow of traffic in the parking lot.

19. According to the same video, less than a minute later, I observed the
following unusual activity in the sedan: the driver’s side rear window opened a few
inches and then closed; the driver’s side rear door twice opened a several inches and
then closed; the driver’s side rear door opened 12 to 18 inches and then closed again;
and the driver’s side window again opened several inches, lowered a few more inches,
and then closed.

20. According to the same video, at approximately 4:31 p.m. (which was the
approximate time of the bank robbery), the driver’s side rear door opened and an
individual wearing a black long-sleeved hooded shirt, a white short-sleeved t-shirt on
top of the long-sleeved shirt, a black covering over his face, and yellow gloves exited
the vehicle through the driver’s side rear door. Seconds later, the vehicle’s brake
lights illuminated and remained on. Based on my comparison of the exterior bank
surveillance video with surveillance images from inside the bank, the masked
individual exiting the vehicle appears similar in height, build, and clothing to
Robber 1. According to the video, the masked individual then walked through the
bushes between Restaurant A’s parking lot and the bank, toward the north side doors
of the bank, and pulled a gun from his front pants pocket. The masked individual

then entered the bank. Approximately seven seconds later, the dark sedan slowly
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rolled forward (approximately 18 to 24 inches) in its parking space, and then stopped
with its brake lights still on.

21. According to the surveillance video, approximately one minute later at
4:32 p.m., the same masked individual exited the bank wearing the black covering
over his face and yellow gloves, ran to the rear driver's side door of the dark sedan,
and entered the vehicle. As the driver’s side rear door closed, the vehicle drove
forward out of the diagonal parking spot, against the flow of traffic and out of the
camera’s field of view.

Initial Location Monitoring of GPS Tracking Device

22. After the bank robbery, law enforcement received notification that the
GPS tracking device placed into Robber 1’s bag by Teller A had moved. Shortly
thereafter, using the tracking software issued by the third-party vendor that provides
the GPS service to the bank, law enforcement officers monitored the signals emitted
by the GPS device and tracked its location following the robbery. Based on law
enforcement’s tracking of the GPS device, the device first headed north on Lee Street
and then made a U-turn to head south on Lee Street, consistent with Employee A’s
and Witness A’s respective observations of the dark blue Kia Optima. The device then
traveled approximately two to three blocks south and east of the bank and came to a
stop in a north-south alley between Ash Street and Pine Street, located south of

Prospect Avenue and North of Howard Avenue.
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Identification of Subject Vehicle

23. Law enforcement officers searched the area around the end location of
the GPS tracking device and located a dark blue Kia Optima (the “Subject Vehicle”)
parked in a rear alley between Ash Street and Pine Street. The Subject Vehicle had
an Indiana license plate affixed by only one screw. While continuing to search the
nearby area, law enforcement found a yellow Illinois temporary registration permit
starting with the numbers “93” in a garbage can located approximately six to seven
feet from the Subject Vehicle.

24. According to my review of various surveillance videos from the area of
the Subject Vehicle, two males were at or near the parked Subject Vehicle following
the bank robbery.

25. According to my review of surveillance video from a motion-activated
camera located just south of the Subject Vehicle and facing northwest, as of
approximately 4:39 p.m. (eight minutes after the robbery), the Subject Vehicle was
already parked at the location where it was later found by law enforcement. In the
video, an individual walked from off-camera (from the east side of the alley) toward
the driver’s side of the Subject Vehicle. The recording then stopped.® Approximately
39 seconds later, the recording restarted and shows another individual with a dark
shoulder bag moving east from the rear driver’s side corner of the Subject Vehicle

down a driveway in the direction of 19xx Pine Street.

 

5 Based on my training and experience, and my review of this surveillance video, I believe
that the video recording stopped because the camera sensor no longer detected motion.
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26. According to my review of additional surveillance video located at 19xx
Pine Street and facing west toward the alley in which the Subject Vehicle was parked,
approximately six to seven minutes after the bank robbery, a dark sedan can be seen
driving into view and then parking out of view in the area of the Subject Vehicle.
Approximately one minute later, a pair of feet are seen walking from the direction of
the Subject Vehicle toward a garbage can at the top of the screen. Based on law
enforcement’s comparison of the surveillance video to the physical scene, law
enforcement determined that this is the same garbage can where the yellow Illinois
temporary registration permit starting with the numbers “93” was recovered.
According to the video, the individual at the garbage then put on a light-colored jacket
with dark trim on the cuffs and bottom edge, and moved back in the direction of the
Subject Vehicle and out of view. Approximately one minute later, the individual in
the light-colored jacket again walked toward the area of the garbage can and was
joined by a second individual also coming from the direction of the Subject Vehicle.
The individual in the light-colored jacket was carrying a drink can; and the second
individual was wearing a white short-sleeved t-shirt and dark puffy jacket and
carrying a dark shoulder bag. Both individuals walked quickly east, away from the
direction of the alley, while looking around in all directions, and were out of view at
approximately 4:40 p.m.

27. According to my review of surveillance video from another camera at
19xx Pine Street, facing east toward Pine Street, at approximately 4:41 p.m., two

individuals walked into view heading east. Based on comparison to the other

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surveillance videos described above, I determined that the two individuals’ respective
heights, builds, clothing, and accessories (including one individual wearing a light-
colored jacket with dark trim on the cuffs and bottom edge, and a taller individual
wearing a white short-sleeved t-shirt and black puffy jacket, and holding a dark
shoulder bag) appeared consistent with the two individuals seen walking from the
direction of the Subject Vehicle in the other 19xx Pine Street recording. The
individual in the light-colored jacket was also wearing charcoal-colored pants, and
the taller individual with the dark shoulder bag was also wearing white and black
shoes and dark blue jeans. According to the video, approximately 15 seconds later,
both individuals ran in different directions, with the taller individual holding the
dark shoulder bag running off-camera into a yard located across the street from 19xx
Pine Street, and the individual in the light-colored jacket heading north and dropping
his drink can by a tree. A few seconds later, a marked police car drove by.

28. Ina subsequent search by law enforcement of the yard located across
the street from 19xx Pine Street, law enforcement found a black face covering, a black
long-sleeved hooded shirt, black pants, and black shoes hidden in a flowerbox. Based
on a comparison to bank surveillance video of the robbery, law enforcement
determined that items appear consistent with those worn by Robber 1 during the
bank robbery.

29. Based on law enforcement review of this surveillance video, in which the
two individuals’ facial features and physical attributes are visible, and later

comparison to driver's license images and information for “MAURICE MURPHY” and

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“CHRISTOPHER WILLIS” in a law enforcement database, law enforcement
identified the individual in the light-colored jacket who dropped the drink can as
MAURICE MURPHY, and the taller individual with the dark shoulder bag as
CHRISTOPHER WILLIS. Law enforcement also later retrieved the drink can
dropped by MURPHY.
Arrest and Identification of MAURICE MURPHY

30. While searching the area indicated by the GPS tracking device, law
enforcement observed several civilians chasing a male individual running in the area.

31. According to a witness in the area (“Witness B”), Witness B was at 19xx
South Chestnut Street with friends when they observed a black male running across
an alley at the rear of the address. According to my review of the physical scene and
a map of the area, 19xx South Chestnut Street is located approximately one block
east of 19xx Pine Street. According to Witness B, Witness B heard law enforcement
sirens and saw emergency lights in the area and suspected that the running
individual was possibly connected to the law enforcement presence in the area.
Witness B dhsexved the individual first running northeast and then doubling back
and running southbound through the backyards of residences on the west side of
Chestnut Street. When the individual reached the backyard of 19xx South Chestnut
Street, Witness B and his/her friends chased and tackled the individual. At
approximately 4:45 p.m., law enforcement officers in the area took the individual into

custody.

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32. Law enforcement later determined this individual to be MAURICE
MURPHY. MURPHY is a 32-year old black male with brown eyes and black hair.
Law enforcement found MURPHY’s Illinois driver’s license on MURPHY’s person at
the time he was taken into custody, and determined that MURPHY matched the
license photograph and physical identifiers on the license. MURPHY also later
identified himself as “MAURICE MURPHY” to law enforcement officers.

33. At the time he was taken into custody, MURPHY was wearing, among
other things, a light-colored jacket with dark trim on the cuffs and bottom edge and .
charcoal-colored pants, consistent with that worn by the individual recorded near the
Subject Vehicle, at the garbage can where the Illinois temporary tag was later found,
and later throwing away a drink can while running through the area. MURPHY had
on his person his wallet, which contained, among other things, (1) approximately $676
of cash, including a number of apparently counterfeit bills, (1) a receipt, time-
stamped for 3:27 p.m. that day, from a store in Bellwood, Illinois (“Store A”) for the
purchase of an energy drink, and (ii1) the employee ID card, Indiana driveyr’s license,
and debit card of a female individual (“Individual A”), later determined by law
enforcement to be the owner of the Subject Vehicle (as discussed in greater detail
below).

Pursuit of Robber 1

34. Upon arriving in the area of the GPS tracking device’s location after the

bank robbery, law enforcement set up a perimeter around the area and began

searching for Robber 1.

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35. At approximately 6:45 p.m., a resident in the area (“Resident A”) alerted
law enforcement officers that he/she had just been held at gunpoint by a black male
individual who demanded Resident A’s car keys and fled the area in Resident A’s
vehicle, described as a Buick sedan.

36. Other law enforcement officers in the area observed a Buick sedan in
the area and began pursuit. Law enforcement followed the Buick as it entered the
Interstate 90 eastbound at a high rate of speed, exited Interstate 90, and crashed in
the area of 45xx Irving Park Road in Chicago, Illinois. The driver then exited the
Buick, and a shootout ensued, during which a law enforcement officer, a civilian, and
the driver of the Buick were shot. The driver of the Buick died at the scene.

Identification of CHRISTOPHER WILLIS

 

37. Following the shootout, law enforcement observed that the driver of the
Buick was wearing a white short-sleeved t-shirt, a black puffy jacket, dark blue jeans,
and white and black shoes. Based on comparison to the surveillance videos from the
vicinity of the Subject Vehicle, law enforcement determined that the driver’s clothing
appeared consistent with that of the taller individual with the dark shoulder bag
recorded on the videos. Law enforcement also recovered from the driver's person a
Springfield XD-S 9mm pistol bearing serial number HG900482. Based on a
comparison to the bank surveillance video, the pistol appears consistent with the
handgun used by Robber 1 in the bank robbery.

38. According to a search of the driver’s fingerprints in a law enforcement

database, the driver’s fingerprints matched those of CHRISTOPHER WILLIS. Law

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enforcement also determined that the driver's physical appearance matched an
Illinois driver’s license photograph and physical identifiers for “CHRISTOPHER
WILLIS” in a law enforcement database.

39. Law enforcement also located and recovered from the Buick a black
shoulder bag containing approximately $15,396 in cash and a GPS tracking device.
The tracking software issued by the GPS service vendor showed that the tracking
device had left the area of the Subject Vehicle and then came to a stop at Irving Park
Road, consistent with the location of the Buick. The start and end locations of the
GPS tracking device are consistent with the start and end locations of the Buick
observed by law enforcement in pursuit.

Interview of Individual A and Search of the Subject Vehicle

40. According to a law enforcement search of the Indiana license plate on
the Subject Vehicle, the Subject Vehicle is owned by Individual A.

41. Law enforcement contacted Individual A and interviewed her in person.
According to Individual A, he/she had met with CHRISTOPHER WILLIS earlier in
the day and had loaned WILLIS her car. Individual A said that he/she had told
WILLIS that he needed to return with her vehicle by 2:00 p.m., but that WILLIS had
not done so and had not answered Individual A’s phone calls later that day.

42. Law enforcement obtained Individual A’s consent to search his/her
vehicle. Law enforcement found that the only seats inside the vehicle that were clear
of papers, trash, and other items were the driver’s seat and the rear driver’s seat. In

connection with the consent search, Individual A asked law enforcement to search for

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his/her employee ID card and debit card, which he/she said should be on or near the
driver’s seat of the car, or in the console next to the driver’s seat. Law enforcement
did not find these items inside the vehicle. However, as discussed above, these items
were found on MURPHY’s person when he was taken into custody.
Surveillance Video from Store A

A3. According to law enforcement review of surveillance video from inside
Store A prior to the bank robbery, and based on a comparison of that video to driver’s
license images for WILLIS and MURPHY and law enforcement’s in-person
interactions with WILLIS and MURPHY on the day of the bank robbery, law
enforcement determined that approximately one hour before the bank robbery,
WILLIS and MURPHY were together inside Store A. WILLIS is seen on the video
wearing a white short-sleeved t-shirt, dark puffy jacket, dark blue jeans, and white
and black shoes, appearing consistent with what he was found wearing after the
shootout. According to the video, at approximately 3:26 p.m., WILLIS purchased an
item that appears to be packaged gloves. According to an employee of Store A and
Store A’s records, the purchase at this time was for yellow kitchen gloves. Based on
law enforcement’s review of a photograph of the purchased gloves and a comparison
to the bank surveillance video, the gloves purchased by WILLIS appear consistent
with those worn by Robber 1 during the bank robbery. Additionally, according to the
video, approximately one minute later, MURPHY purchased a canned energy drink,
whose color, design, and size appears consistent with the can dropped by MURPHY

after the bank robbery and later retrieved by law enforcement. In the video,

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MURPHY is wearing a dark hooded sweatshirt and charcoal-colored pants, and his
pants appear consistent with those he was wearing after the bank robbery when he
was taken into custody.

44. According to law enforcement review of earlier surveillance video from
the exterior of Store A, MURPHY can be seen arriving at Store A in a dark four-door
sedan appearing consistent with the Subject Vehicle, and WILLIS can be seen
arriving at Store A in a Ford F-150 pickup truck. After exiting from Store A,
MURPHY and WILLIS then departed in the same respective vehicles. Law
enforcement later returned to the area where the Subject Vehicle was found and
located a Ford F-150 pickup truck approximately two blocks north of where the
Subject Vehicle was parked. According to a search of the pickup truck’s license plate
in a law enforcement database, the truck was a rental vehicle that had been reported
stolen. During an inventory search of the stolen truck, law enforcement found inside
a rental receipt listing “CHRISTOPHER WILLIS’ as the renter of the vehicle and a
wallet containing items identified as belonging to “CHRISTOPHER WILLIS.”

Interviews of MAURICE MURPHY

 

45. During his first Mirandized interview on or about November 19, 2019,
MAURICE MURPHY stated, in sum and substance, that he had not been involved in
the bank robbery and had not been in or near the Kia Optima. MURPHY said that
earlier in the day, he had taken the CTA Red Line train from the south side of Chicago
to Evanston, Illinois. MURPHY said a female had then ordered him an Uber to pick

him up in Evanston and drop him off at her address; the Uber dropped him off at the

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designated drop-off address, but the female who had ordered the Uber did not live
there. MURPHY further said that he was running at the time of his apprehension
because he had been smoking cannabis, was from the south side of Chicago, and had
learned to run from police.

46. During his second Mirandized interview, on or about November 20,
2019, MURPHY first repeated, in sum and substance, the statements he made during
his prior interview on November 19, 2019, and denied knowing “Chris.” Law
enforcement officers later showed MURPHY still surveillance images of MURPHY
and WILLIS together inside Store A before the bank robbery and of MURPHY and
WILLIS together in the area of the Subject Vehicle after the bank robbery. MURPHY
then said, in sum and substance, “you got me” and that he did “it” because he needed
the money. MURPHY also said, in sum and substance, that “it” was not his idea, that
“Chris” had needed a driver, that this was the only time that he had done “it” with
“Chris,” and that the officers should examine the difference between MURPHY’s and
“Chris’s” “backgrounds.” Based on the law enforcement officers’ training and
experience, and the nature of the discussion, the officers understood “backgrounds”
to refer to MURPHY’s and WILLIS’s criminal histories. MURPHY further said, in
sum and substance, that he did not know what his “cut” was going to be, as he did
not know how much money “Chris” was going to get, but that MURPHY needed some

money. MURPHY then asked for a lawyer.

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Conclusion

47. Based on the above information, I respectfully submit that there is
probable cause to believe that, on or about November 19, 2019, MAURICE MURPHY,
took, by force and violence, and by intimidation, from the person and presence of bank
employees approximately $15,536 in United States currency belonging to and in the
care, custody, control, management, and possession of a bank, namely, the Bank of
America located at 1300 East Oakton Street, Des Plaines, Illinois, the deposits of
which were then insured by the Federal Deposit Insurance Corporation, in violation

of Title 18, United States Code, Section 2113(a).

FURTHER AFFIANT SAYETH NOT.

BED EEE
HERBERT E. HOGBERG MI

Special Agent
Federal Bureau of Investigation

 

AND/$WORN to before me on November 21, 2019.

 
       

United States Magistrate Judge

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